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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUⅣ IBIA

UNITED STATES OF AⅣ IERICA                           Crilninal No。 18‑cr‐ 00146


              V。                                     FILED UNDER SEAL

ISABELLE GARCIA,

               Defendant

                                        MOTION TO T]NSEAL

       The United States of America, through its attorney, the United States Attorney for the

District of Columbia, respectfully moves to unseal all pleadings and entries on the public docket.



                                                     Respecthlly subrnitted,

                                                     Timothy J,Shea
                                                     United States Attomey



                                             By:   /s/Anthonv Salcr
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